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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA

                                                          Case No. 1:23-cr-490 (SHS)
       v.


ROBERT MENENDEZ, NADINE
MENENDEZ, WAEL HANA, JOSE URIBE,
and FRED DAIBES,

                      Defendants.

                                    NOTICE OF MOTION

       PLEASE TAKE NOTICE that upon the Declaration of Danny C. Onorato dated January

15, 2024 1, and the accompanying Memorandum of Law, defendant Nadine Menendez, through her

undersigned attorneys, will and hereby does respectfully move this Court before the Honorable

Sidney H. Stein, at the United States Courthouse, 500 Pearl Street, New York, New York, for an

Order severing Ms. Menendez’ trial from defendant Senator Menendez.


January 15, 2024                                     Respectfully Submitted,

                                                     ______/s/________________
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  The Declaration of Danny C. Onorato has been submitted ex parte and under seal because it reveals
attorney work product and trial strategy in connection with Ms. Menendez’s defense at trial.
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